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                                        STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and have
been so employed since 2017. During that time, I have investigated corruption of local and federal
officials, fraud against the government, bribery, threat to life cases, and violations of Color of Law
and Civil Rights, as a part of the FBI Washington Field Office Public Corruption and Civil Rights
program. I have prepared and assisted in the preparation of court orders and search warrant
applications. Additionally, during the course of these and other investigations, I have conducted
or participated in physical and electronic surveillance, assisted in the execution of search and arrest
warrants, debriefed informants, interviewed witnesses and suspects, and reviewed other pertinent
records. Through my training, education, and experience, I have become familiar with the efforts
of persons involved in criminal activity to avoid detection by law enforcement. I am assisting in
the investigation and prosecution of events which occurred at the United States Capitol on January
6, 2021.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there
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       Based on information I have reviewed, I estimate that between 2:00 p.m., and no later than
4:00 p.m., the defendant, Josiah Colt, entered the United States Capitol without authorization to
do so. He was photographed hanging off a balcony and landing on the floor of the Senate chambers
(Exhibit A).

        In a video posted to Facebook and circulated widely on other social media platforms, the
defendant claims he was the first person to sit in the House Speaker’s chair and calls House
Speaker Nancy Pelosi a traitor. The defendant appears to be mistaken as he was also photographed
in the seat reserved for the vice president, and not Speaker Pelosi (Exhibit B).

         According to public reporting, the defendant has admitted his involvement in the riots, and
apologized for it. In a statement given to CBS2 News he stated: “I love America, I love the people,
I didn’t hurt anyone and I didn’t cause any damage in the Chamber. I got caught up in the moment
and when I saw the door to to [sic] the Chamber open, I walked in, hopped down, and sat on the
chair. I said my peace then I helped a gentlemen get to safety that was injured then left.”

        Agents from the FBI’s Washington Field Office conducted a telephonic interview with a
relative of the defendant following submission of information to the FBI’s online tip system. The
relative confirmed that the individual in the aforementioned photographs hanging from the balcony
and sitting in the vice president’s seat is the defendant.

        Based on the foregoing, your affiant submits that there is probable cause to believe that the
Josiah Colt violated 18 U.S.C. § 1752(a)(1), which makes it a crime to knowingly enter or remain
in any restricted building or grounds without lawful authority to do so.
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        Based on the foregoing, your affiant submits that there is also probable cause to believe
that Josiah Colt violated 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group
of individuals to willfully and knowingly (D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; (E) obstruct, or impede
passage through or within, the Grounds or any of the Capitol Buildings; (F) engage in an act of
physical violence in the Grounds or any of the Capitol Buildings; or (G) parade, demonstrate, or
picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Special Agent Matthew J. Gano
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of January, 2021.

                                                                              G. Michael Harvey
                                                                              2021.01.09
                                                                              16:57:31 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
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                        EXHIBIT B
